Case 1:16-cv-00166-IMK-RWT Document 8 Filed 04/06/17 Page 1 of 1 PageID #: 35
                                                       LED


               t 1i,’H



                               :          SLUt   (1
                                                  &L
                                                        17:)
                                                         Cs
                                                                  (/Jt

                                                                           tiiiIc-    r
         I h,-ive,1-      hea,J    /AJq   h
                                          1 5    )eivcI
          CI)AJCAi         V1 Lf                  ri    yiig        hAci<.    Je+fi
                     3
                     I1
         I    k, +k                        OAt         /AJCi                         4
                                                                                     1 tJJ

                                          NEEd
           Aidk      t/Lt.                                —



                                                               I Ci.,rtt   -
                                                                           1
                                                                           3 W V           (r/./,iJ    3O//j—
                                                               5)/ 4
                                                                   t
                                                                   p i/-4/                            Ale
                                                       /ih4scE                  Pt,       23O/
                                                 C4s6;
